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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CLEVE COTTON, TWANITA TURNER                         )
on behalf of plaintiffs and the class defined        )
below,                                               )
                                                     )
                      Plaintiffs,                    )       No. 10 C 4709
                                                     )
              v.                                     )       Magistrate Judge
                                                     )       Maria Valdez
                                                     )
NATIONAL ACTION FINANCIAL                            )
SERVICES, INC.,                                      )
                                                     )
                      Defendant.                     )

                               AGREED DISMISSAL ORDER

       This matter coming before the Court on Plaintiff Twanita Turner’s Motion for Approval

of Final Accounting of Class Settlement, IT IS ORDERED:

       1.     Plaintiff’s motion is granted. The Court finds that the distribution of the

settlement funds to be proper and in accordance with the settlement agreement.

       2.     This matter is hereby terminated.




SO ORDERED.                                          ENTERED:



DATE: ___September 18, 2014___                       ___________________________
                                                     HON. MARIA VALDEZ
                                                     United States Magistrate Judge
